19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                    of Linda M. Tirelli with exhibits Pg 1 of 83
19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                    of Linda M. Tirelli with exhibits Pg 2 of 83
19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                    of Linda M. Tirelli with exhibits Pg 3 of 83
19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                    of Linda M. Tirelli with exhibits Pg 4 of 83
19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                    of Linda M. Tirelli with exhibits Pg 5 of 83
19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                    of Linda M. Tirelli with exhibits Pg 6 of 83
19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                    of Linda M. Tirelli with exhibits Pg 7 of 83
19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                    of Linda M. Tirelli with exhibits Pg 8 of 83
19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
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19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
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19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
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19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                   of Linda M. Tirelli with exhibits Pg 14 of 83
19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                   of Linda M. Tirelli with exhibits Pg 15 of 83
19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                   of Linda M. Tirelli with exhibits Pg 16 of 83
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                   of Linda M. Tirelli with exhibits Pg 17 of 83
19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
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19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                   of Linda M. Tirelli with exhibits Pg 19 of 83
19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                   of Linda M. Tirelli with exhibits Pg 20 of 83
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                   of Linda M. Tirelli with exhibits Pg 21 of 83
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                   of Linda M. Tirelli with exhibits Pg 22 of 83
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                   of Linda M. Tirelli with exhibits Pg 23 of 83
19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                   of Linda M. Tirelli with exhibits Pg 24 of 83
19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                   of Linda M. Tirelli with exhibits Pg 25 of 83
19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                   of Linda M. Tirelli with exhibits Pg 26 of 83
19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                   of Linda M. Tirelli with exhibits Pg 27 of 83
19-23034-shl   Doc 82-1 Filed 09/24/21 Entered 09/24/21 17:44:11   Declaration
                   of Linda M. Tirelli with exhibits Pg 28 of 83
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                   of Linda M. Tirelli with exhibits Pg 29 of 83
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                   of Linda M. Tirelli with exhibits Pg 30 of 83
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                   of Linda M. Tirelli with exhibits Pg 31 of 83
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                   of Linda M. Tirelli with exhibits Pg 32 of 83
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                   of Linda M. Tirelli with exhibits Pg 33 of 83
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                   of Linda M. Tirelli with exhibits Pg 34 of 83
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                   of Linda M. Tirelli with exhibits Pg 35 of 83
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                   of Linda M. Tirelli with exhibits Pg 36 of 83
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                   of Linda M. Tirelli with exhibits Pg 37 of 83
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                   of Linda M. Tirelli with exhibits Pg 38 of 83
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                   of Linda M. Tirelli with exhibits Pg 39 of 83
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                   of Linda M. Tirelli with exhibits Pg 40 of 83
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                   of Linda M. Tirelli with exhibits Pg 41 of 83
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                   of Linda M. Tirelli with exhibits Pg 42 of 83
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                   of Linda M. Tirelli with exhibits Pg 43 of 83
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                   of Linda M. Tirelli with exhibits Pg 44 of 83
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                   of Linda M. Tirelli with exhibits Pg 45 of 83
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                   of Linda M. Tirelli with exhibits Pg 46 of 83
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                   of Linda M. Tirelli with exhibits Pg 47 of 83
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                   of Linda M. Tirelli with exhibits Pg 48 of 83
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                   of Linda M. Tirelli with exhibits Pg 49 of 83
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                   of Linda M. Tirelli with exhibits Pg 50 of 83
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                   of Linda M. Tirelli with exhibits Pg 51 of 83
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                   of Linda M. Tirelli with exhibits Pg 52 of 83
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                   of Linda M. Tirelli with exhibits Pg 53 of 83
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                   of Linda M. Tirelli with exhibits Pg 54 of 83
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                   of Linda M. Tirelli with exhibits Pg 55 of 83
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                   of Linda M. Tirelli with exhibits Pg 56 of 83
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                   of Linda M. Tirelli with exhibits Pg 57 of 83
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                   of Linda M. Tirelli with exhibits Pg 58 of 83
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                   of Linda M. Tirelli with exhibits Pg 59 of 83
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                   of Linda M. Tirelli with exhibits Pg 60 of 83
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                   of Linda M. Tirelli with exhibits Pg 61 of 83
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                   of Linda M. Tirelli with exhibits Pg 62 of 83
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                   of Linda M. Tirelli with exhibits Pg 63 of 83
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                   of Linda M. Tirelli with exhibits Pg 64 of 83
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                   of Linda M. Tirelli with exhibits Pg 65 of 83
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                   of Linda M. Tirelli with exhibits Pg 66 of 83
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                   of Linda M. Tirelli with exhibits Pg 67 of 83
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                   of Linda M. Tirelli with exhibits Pg 68 of 83
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                   of Linda M. Tirelli with exhibits Pg 69 of 83
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